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                           Appendix A
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                                 #:31234
                                        CURRICULUM VITAE



 A. IDENTIFYING DATA
 Name:                           Paul H. Wise, MD, MPH
 Citizenship:                    U.S
 California Medical License:     G87321



 B. ACADEMIC HISTORY:

 1974        Latin American Studies              A.B.            Cornell University

 1978        Medicine                            M.D.            Cornell University Medical College

 1978        General Studies                     M.P.H.          Harvard School of Public Health



 Scholarships and Educational Honors:

 1974                    A.B. awarded summa cum laude, distinction in all subjects,
                         Dean's List, Cornell University

 1976                    Fellow, New York Lung Association

 1978                    Charles L. Horn Prize for Leadership in Medicine, Cornell University Medical
                         College

 1981                    Sidney Farber House Officer Award, Children's Hospital Medical Center,
                         Boston

 Post-doctoral and Residency Training:

 1978-1979               Internship in Pediatrics, Children's Hospital Medical Center, Boston, MA

 1979-1980               Junior Assistant Resident in Pediatrics, Children's Hospital Medical Center,
                         Boston, MA

 1980-1981               Senior Assistant Resident in Pediatrics, Children's Hospital Medical Center,
                         Boston, MA


 Licensure and certifications:

 1981                    Massachusetts License Registration

 1983                    American Board of Pediatrics, Certificate

 2004                    California License Registration
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 Research Interest:

 International and U.S. child health policy; social disparities and technologic innovation in child health.


 Current Research Support:


 1/2011-12/2021           “Center for Prematurity Research”
                          Co-Principal Investigator
                          Transdisciplinary program to reduce premature birth
                          Funder: March of Dimes

 10/09-12/2019            “Health, Security and Global Child Health”
                          Principal Investigator
                          Effort to address major threats to child health and well-being in areas of conflict
                          and political instability through multidisciplinary research
                          Funder: Stanford University International Initiative


 C. EMPLOYMENT HISTORY

 Academic Appointments

 1978-1981                Clinical Fellow in Pediatrics, Harvard Medical School

 1981-1986                Instructor in Pediatrics, Harvard Medical School

 1983-1992                Senior Fellow, Division of Health Policy Research and Education

 1986-1996                Assistant Professor, Pediatrics, Harvard Medical School

 1987-1996                Assistant Professor, Department of Maternal and Child Health,
                          Harvard School of Public Health

 1992-1996                Director, Harvard Institute for Reproductive and Child Health,
                          Harvard Medical School

 1996-2004                Lecturer, Department of Pediatrics
                          Harvard Medical School

 1996-2000                Associate Professor,
                          Department of Pediatrics
                          Boston University School of Medicine

 2000-2004                Professor,
                          Department of Pediatrics
                          Boston University School of Medicine

 2002-2004                Professor,
                          Department of Maternal and Child Health
                          Boston University School of Public Health
                                                                           Paul H. Wise, M.D., M.P.H. - Page 2
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                                 #:31236
 2003-2004           Visiting Professor,
                     Department of Medicine
                     Harvard Medical School

 7/1/04-present      Core Faculty
                     Center for Health Policy, Freeman-Spogli Institute for International Studies
                     Stanford University

 7/1/04-present      Core Faculty
                     Center for Primary Care and Outcomes Research, Department of Medicine,
                     Stanford University School of Medicine

 7/1/04-6/30/16      Director
                     Center for Policy Outcomes and Prevention
                     Department of Pediatrics
                     Stanford University School of Medicine

 7/1/04-present      Professor, Department of Pediatrics
                     Stanford University School of Medicine

 6/1/05-present      Richard E. Behrman Professor of Child Health and Society
                     Stanford University

 10/1/06-present     Professor (by courtesy), Department of Health Research and Policy
                     Stanford University School of Medicine

 10/1/09-present     Senior Fellow, Freeman-Spogli Institute for International Studies
                     Stanford University


 Hospital Appointments

 1980-1981           Acting Medical Director, Emergency Services, Children's Hospital,
                     Boston, MA

 1981-1984           Co-Director, Longwood Area Trauma Center, Boston, MA
 1981-1984           Director, Emergency and Primary Care Services, Children's Hospital,
                     Boston, MA

 1981-1987           Assistant in Medicine, Children's Hospital, Boston, MA

 1984-1987           Director of Perinatal Epidemiology, Joint Program in Neonatology,
                     Brigham and Women's Hospital, Boston, MA

 1987-2004           Associate in Medicine, Children's Hospital, Boston, MA

 1992-1996           Director, Harvard Institute for Reproductive and Child Health,
                     Harvard Medical School, Boston, MA

 1996-2004           Director, Social and Health Policy Research
                     Department of Pediatrics
                     Boston Medical Center


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                                 #:31237
 2003-2004             Vice-Chief,
                       Division of Social Medicine and Health Inequalities
                       Department of Medicine
                       Brigham and Women’s Hospital

 7/1/04-present        Medical Staff, Lucile Packard Children’s Hospital at Stanford


 Other Academic Positions and Major Visiting Appointments:

 1971                  Research Fellow, Institute of Nutrition of Central America and Panama,
                       Guatemala City, Guatemala

 1974-1977             Coordinator, Cornell-Hanover Young Child Nutrition Program,
                       Jamaica, West Indies

 1990-1991             Special Expert, Pediatric, Adolescent, and Maternal AIDS Branch, NICHD,
                       National Institutes of Health

 1990-1991             Special Assistant to the Surgeon General, U.S. Public Health Service

 1999                  Visiting Professor, Department of Pediatrics, University of Cape Town, South
                       Africa

 1999                  Visiting Professor, Sree Chitra Tirunal Institute for Medical Sciences and
                       Technology, Thiruvananthapuram, Kerala, India

 2002-present          Faculty Director, Health Promoter Program, San Lucas Toliman, Guatemala


 D. PUBLIC and PROFESSIONAL SERVICE

 Major Professional Service:

 1990-1992             American College of Obstetricians & Gynecologists, National Fetal and Infant
                       Mortality Review Program, Technical Consultant

 1993-1997             Vital Statistics Liaison Committee, American Academy of Pediatrics

 1993-1997             National Committee on Vital and Health Statistics, American Academy
                       of Pediatrics

 2001-2003             Consortium on Health Disparities, American Academy of Pediatrics

 2001-2006             Chair, Steering Committee,
                       Global Network for Women’s and Children’s Health Research, National Institute
                       of Child Health and Human Development, NIH

 2003-2004             Health Services Working Group, National Children’s Study, NICHD, NIH

 2003-2004             Special Consultant, National Children’s Study, NICHD, NIH

 2005- 2010            Member, International Scientific Oversight Committee, Health Effects Institute


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                                 #:31238
 2006-8               Special Consultant, Residency Review and Redesign Initiative,
                      American Board of Pediatrics

 2007-2010            Member, Secretary’s Advisory Committee on Genetics, Health, and Society
                      NIH, DHHS
                      Chair, Strategic Priorities Task Force

 2011                 Scientific Vision Initiative
                      National Institute of Child Health and Human Development, NIH
                      Co-Chair, Pregnancy Working Group

 2011-2012            Chair, Data Monitoring and Safety Board
                      Community Child Health Network
                      National Institute of Child Health and Human Development, NIH

 2012-2016            National Advisory Child Health and Human Development Council, NICHD, NIH

 2012                 Trans-NIH Health Disparities Strategic Planning Working Group, NIH

 2012-present         March of Dimes Public Policy Advisory Council

 2013-present         Advisory Board, Child and Adolescent Health Measurement Initiative

 2017-present         Secretary’s Advisory Committee on Infant Mortality, HHS


 Editorial Boards:

 2002-4               Editorial Board, About Children: An Authoritative Resource on the State of
                      Childhood Today. Elk Grove Village, IL: American Academy of Pediatrics. 2004

 2006-12              Editorial Board, Academic Pediatrics


 National and Regional Committees:

 1978-1980            Seminar Board on Community Epidemiology
                      Harvard University School of Public Health

 1980-1986            Member, Advisory Council, Statewide, Childhood Injury Prevention Program,
                      Massachusetts Department of Public Health

 1980-1984            Member, Brookline Emergency Medical Services Review Committee

 1983                 Family Health Services Advisory Council, Preventive Strategies Committee,
                      Massachusetts, Department of Public Health

 1984                 New England Commission on Hunger

 1985-1987            Physician's Task Force on Hunger

 1985-1987            The Medical Foundation/Boston Foundation,
                      Infant Mortality Reduction Project


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                                 #:31239
 1986-1989           Massachusetts Department of Public Health,
                     Coalition to Reduce Infant Mortality

 1987-1994           Physician's for Human Rights, Board of Directors

 1989                National Commission on Infant Mortality, Data and Methods Subcommittee

 1989                Task Force on Infant Mortality and Low Birthweight,
                     Commonwealth of Massachusetts

 1989                Maternal and Child Health Advisory Committee,
                     Department of Health and Hospitals, City of Boston

 1990                Mayor's Task Force on Infant Mortality, District of Columbia

 1992-1998           Massachusetts Commission on Children and Youth, Board of Directors

 1992-1998           Cambridge Health of the City Project, Healthy Child Task Force,
                     Chairman, Child Health Data Base Action Group

 1994-1998           Massachusetts Chapter of the March of Dimes, Birth Defects Foundation,
                     Board of Directors

 1996-2000           Steering Committee, Initiative for Children, American Academy of Arts and
                     Sciences

 1998-2001           National Research Council, Institute of Medicine, Board on Children, Youth,
                     and Families

 2002-2004           Perinatal Health Group, Preventive Health Task Force,
                     Centers for Disease Control

 2005-2009           Advisory Committee, First Five Coalition, Los Angeles County

 2012-2013           Science Advisory Committee, Health Measurement Network
                     National Children’s Study, National Institutes of Health


 Harvard Medical School:

 1983-1988           Working Group on Early Life and Adolescent Health Policy
                     Committee on Infant Mortality

 1988-1995           Executive Director, Working Group on Early Life
                     and Adolescent Health Policy

 1990-1996           Steering Committee, Women's and Children's Health Clerkship

 1993                Oliver Wendell Holmes Society
                     Working Committee on Multiculturalism




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                                 #:31240
 Boston Children's Hospital:

 1981-1984             Disaster Committee

 1981-1984             Residency Training Committee

 1982-1984             Ambulatory Care Administrative Committee

 1982-1984             Acute Care Committee

 1982-1984             Referring Physician Committee

 1983-1988             Secretary, Medical Staff


 Brigham and Women's Hospital:

 1985-1990             Perinatal Mortality Committee

 2003-2004             Hiatt Global Health Equity Residency Committee


 Boston University School of Medicine:

 2001-2004             Promotions Committee, Department of Pediatrics


 Lucile Packard Children’s Hospital:

 2004-2014             Committee on Public Policy and Community Service

 2004-2014             Advisory Committee, Child Health Research Program


 Stanford University School of Medicine

 2005-8                Steering Committee, International Initiative

 2005-8                Pediatrics Research Council

 2005-8                Pediatric Research Program, Steering Committee

 2005-9                Chair, Advisory Committee, Office of Community Health

 2009-2014             Advisory Committee, Office of Community Health

 2011-2015             Executive Committee, Child Health Research Institute

 2014-present          Executive Committee, Center for Innovation in Global Health




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                                 #:31241
 Stanford University

 2005-8                Advisory Committee, International Initiative

 2005-present          Affiliated Faculty, Stanford Center on Longevity

 2005-present          Core Faculty, Center for Health Policy/Center for Primary Care and Outcomes
                       Research

 2006-8                Chair, Working Group on Human Well-being, International Initiative

 2006-present          Advisory Board, Center for Latin American Studies

 2006-present          Core Faculty, The Center for Integration of Research on Genetics and Ethics

 2009-present          Faculty, Center for African Studies

 2009-2012             Member, University Senate

 2010-2013             Faculty Advisory Committee, Haas Center for Public Service

 2010-present          Faculty, Center for Democracy, Development and the Rule of Law, Freeman-
                       Spogli Institute for International Studies

 2010-present          Faculty, Center for International Security and Cooperation, Freeman- Spogli
                       Institute for International Studies

 2015-present          Faculty Advisory Committee, Handa Center for Human Rights and International
                       Justice


 E. POST-DEGREE HONORS and AWARDS

 Honors and Distinctions:

 1984                  Fellow, Massachusetts Health Research Institute, The Medical Foundation, Inc., Boston

 1988                  Young Professional Award, American Public Health Association

 1991                  Certificate of Appreciation, Office of the Surgeon General, Department of
                       Health and Human Services

 1995                  Franklin Delano Roosevelt Award, The March of Dimes,

 2001                  Richard and Millie Brock Award for Contributions to Pediatrics, New York
                       Academy of Medicine

 2002                  Anne E. Dyson Memorial Award Visiting Professor, Department of Pediatrics,
                       University Rochester School of Medicine

 2003                  William Root Lecturer and AOA Visiting Professor, Kansas University School
                       of Medicine

 2006                  Susan Packard Orr Lecturer, Lucile Packard Children’s Hospital
                                                                      Paul H. Wise, M.D., M.P.H. - Page 8
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                                 #:31242
 2005                      Hugh and Alison Westgate Award in Justice and International Pediatrics,
                           Minnesota Children’s Hospital

 2006                      George A. Silver Memorial Lecture, George Washington University School of
                           Medicine

 2008                      James W. Rosenfeld Memorial Lecture, Department of Pediatrics,
                           Oregon Health Sciences University

 2009                      Christus Distinguished Lecturer in Public Health, Christus Santa Rosa Health
                           Care, San Antonio, Texas

 2009                      Certificate of Appreciation, National Institute of Child Health and Human
                           Development, NIH

 2010                      Dorothy Waffarn Memorial Endowed Lecture, Department of Pediatrics,
                           University of California, Irvine

 2010                      Martin Luther King/Lavizzo Lecture, Department of Pediatrics, University of
                           Washington School of Medicine

 2010                      Keynote, Zimbabwe Medical Association Annual Congress

 2011                      Keynote, Humanism in Medicine Conference, Koo Foundation Sun Yat-Sen
                           Cancer Center, Taipei Taiwan

 2012                      David E. Shi Endowed Lecture, Furman University

 2013                      Paul Harper Lecture, Johns Hopkins Bloomberg School of Public Health

 2013                      Alan D. Stiles Lecture, Department of Pediatrics, University of North Carolina
                           School of Medicine

 2014                      George A. Silver Memorial Lecture, Academy Health National Conference

 2018                      Fellow, American Academy of Arts and Sciences



 Professional Societies:

 1985-present              American Academy of Pediatrics

 1983-present              American Public Health Association

 1983-present              Academic Pediatrics Association

 1987-2004                 Massachusetts Public Health Association

 1991-present              Physicians for Human Rights




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                                 #:31243
 Teaching Experience:

 1981-1984              Director, Emergency Pediatrics Rotation
                        Children's Hospital, Boston,

 1982-1984              Advanced Cardiac Life Support Program
                        Brigham and Women's Hospital, Boston, Instructor

 1982-1996              Ward Attending, Children's Hospital, Boston

 1983-2001              "Maternal and Child Health Care Delivery"
                        Harvard School of Public Health, Lecturer

 1984-1995              "Measuring the Health of Urban Populations"
                        Harvard School of Public Health, Co-Director

 1987-1994              "The Doctor-Patient Relationship"
                        Harvard Medical School, Tutorial Leader

 1990-1996              "Women's and Children's Health Policy Clerkship"
                        Harvard Medical School, Steering Committee

 1993-2004              "Women's and Children's Health Policy Clerkship"
                        Harvard Medical School, Core Lecturer

 1994-1996              "Society and the Determinants of Child Health"
                        Harvard School of Public Health, Director

 1996-2004              Boston Medical Center, Ward Attending

 1996-2004              Director, “Policy Rounds”,
                        Boston Combined Residency in Pediatrics

 1999-2003              Director, Latino Clinic,
                        Boston Combined Residency in Pediatrics

 2000-2004              Social Epidemiology Research Group, Director
                        Department of Pediatrics, Boston University School of Medicine


 2002-2004              Director, Health Policy Block,
                        Boston Combined Residency in Pediatrics

 2003-2004              Co-Director, Residency in Global Health Equity
                        Department of Medicine
                        Brigham and Women’s Hospital

 2004-6                 Director, “Policy Rounds”,
                        Residency in Pediatrics
                        Lucile Packard Children’s Hospital

 2004-8                 Chair, Advisory Board
                        Scholarly Concentration in Community Health
                                                                       Paul H. Wise, M.D., M.P.H. - Page 10
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                                 #:31244
 2004-8                   Advisory Committee, Residency Training Program
                          Lucile Packard Children’s Hospital

 2006-7                   Chair, Subcommittee on International and Advocacy Programs
                          Residency Training Program
                          Lucile Packard Children’s Hospital

 2006-9                   Course Director, “Rethinking International Health” (MED 230)
                          Stanford University School of Medicine

 2007-present             Course Director, “Global Public Health” (HUMBIO 129s)
                          Stanford University

 2015-present             Course Co-Director, “Health and Security” (HUMBIO 92Q)

 2007-present             Advisor, Human Biology Program, Stanford University



 F. BIBLIOGRAPHY: 203 Total Publications

 Peer-Reviewed Articles:

 1.       Alderman MH, Wise P, Ferguson R, LaVerde J. Reduction of young child malnutrition and
          mortality in rural Jamaica. J Trop Ped Environ Child Health 1978;7:241-8.

 2.       Wise P, Krauss AK, Waldman S, Auld P. Flow volume curves in premature infants with hyaline
          membrane disease. Crit Care Med 1980;62:156-62.

 3.       Hanson, M, Wise, PH, Robbins, DA. Triage in emergency services. J Emergency Nursing.
          1981;7(3): 118-119.

 4.       Lamb GA, Wise PH, Gold B, Colton T. Dashevsky B, The impact of economic hardship on
          children's health: the recent experience of Boston. Mass J Comm Health 1985;2:15.

 5.       Wise PH, Kotelchuck M, Wilson M, Mills M. Racial and socio-economic disparities in
          childhood mortality in Boston. New Eng J Med 1985;313:360-6.

 6.       Baker MD, Moore S, Wise PH. The effect of bottle bill legislation on the incidence of childhood
          lacerations. Am J Pub Health 1986;76:1243-4.

 7.       Wise PH, First LR, Lamb GA, et. al. An increase in infant mortality despite high access to
          tertiary care: an evolving relationship between infant mortality, health care, and socioeconomic
          change. Pediatrics 1988;81:542-8.

 8.       Himmelstein DU, Woolhandler S, Wise PH. A national health program for the U.S.: a
          physician's proposal. New Eng J Med 1989;320:102-8.

 9.       VanMarter LJ, Berwick DM, Torday J, Frigoletto F, Wise PH, Epstein, MF. Interpretation of
          indices of fetal pulmonary maturity by gestational age. Paediatr Perinat Epidemiol
          1988;2(4):360-364.


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                                 #:31245
 10.    Wise PH. Poverty, technology, and recent trends in the U.S. infant mortality rate. Paediat Perin
        Epidem 1990;4:390-401.

 11.    Wise PH, Schaller JG, Bloche G, Arnison ND. Operation "Just Cause": a case study in death
        estimation after war. PSR Quart 1991;1:138-144.

 12.    Kempe A, Wise PH, Barkan SE, et. al. Clinical determinants of the racial disparity in very low
        birth weight birth. N Engl J Med 1992;327:969-73.

  13.   Wise PH, Lowe JA. Noise or fugue: seeking the logic of child health indicators. Mental
        Retardation 1992;30(6):323-29

 14.    Wise PH. Confronting racial disparities in infant mortality: reconciling science and politics. Am J
        Prev Med 1993;9(6):7-16.

 15.    Perrin JM, Kahn RS, Bloom SR, Davidson S, Guyer B, Hollinshead W, Richmond JB,
        Walker DK, Wise PH. Health care reform and the special needs of children.
        Pediatrics 1993; 93(3):504-506.

 16.    Breitbart V, Chavkin W, Wise PH. Model programs addressing perinatal drug exposure and
        human immunodeficiency virus infection. Bull NY Acad Med 1994;71:236-51.

 17.    Breitbart V, Chavkin W, Wise PH. The accessibility of drug treatment for pregnant
        women: a survey of programs in five cities. Am J Public Health 1994;84(10):1658-1661.

 18.    Wallace HM. Micik S. Wise P. Community study of infant mortality in San Diego County. J
        Trop Ped. 1994;40:172-8.

 19.    Chavkin W, Breitbart V, Wise PH. Finding common ground: the necessity of an integrated
        agenda for women's and children's health. J Law Med Ethics 1994;22(3)262-269.

 20.    Katz ME, Holmes MD, Power KL, Wise PH. Mortality of women 15 to 44 years old in Boston:
        looking beyond reproductive status. Am J Public Health 1995;85(8):1135-1138.

 21.    Sachs BP, Fretts RC, Gardner R, Hellerstein S, Wampler NS, Wise PH. The impact of
        extreme prematurity and congenital anomalies on the interpretation of international comparisons
        of infant mortality. Obstet Gynecol 1995;85(6):941-946.

 22.    Wise PH, Wampler N, Barfield W. The importance of extreme prematurity and low
        birthweight to US neonatal mortality patterns: implications for prenatal care and women’s
        health. JAMWA 1995;50:152-155.

 23.    Chavkin W, Breitbart V, Wise PH. Efforts to reduce perinatal mortality, HIV, and drug
        addiction:survey of the states. JAMWA.1995;50:164-6.

 24.    Wise PH. Child beauty, child rights and the devaluation of women. Health and Human
        Rights.1995;1(4):101-105.

 25.    Barfield WD, Wise PH, Rust FP, Rust KJ, Gould JB, Gortmaker SL. Racial disparities in
        outcomes: California military and civilian births. Arch Pediatr Adolesc Med 1996;150:1062-7.

 26.    Hamvas A, Wise PH, Yang RK, Wampler NS, et al. The influence of the wider use of
        surfactant therapy on neonatal mortality among blacks and whites. New Engl J Med
        1996;334:1635-40.
                                                                        Paul H. Wise, M.D., M.P.H. - Page 12
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 27.   Kempe A, Wise PH, Wampler NS, Cole FS, Wallace H, Dickenson C, Rhinehart H,
       Lezotte DC, Beatty B. Risk status at discharge; etiology of death for postneonatal infant deaths: a
       total population study. Pediatrics. 1997; 99:338-44.

 28.    Sharfstein J, Wise PH. Hepatitis B vaccination practices in a community health center.
        JNational Med Assoc. 1997;89:86-92.

 29.    Kempe A, Sachs BP, Wise PH. Home uterine activity monitoring in the prevention of very low
        birth weight. Pub Health Rep 1997;112(5):433-9.

 30.    Goldstein R, Wampler N, and Wise PH. War experience and distress symptoms of Bosnian
        children. Pediatrics 1997; 100:873-8.

 31.    Mandl KD, Brennan TA, Wise PH. Maternal and infant health:effects of moderate reductions
        in postpartum length of stay. Arch of Pediatr Adolesc Med. 1997; 151:915-21.

 32.    McElrath T and Wise PH. Fertility therapy and the risk of very low birth weight. J Obstet
        Gynecol. 1997; 90:600-5.

 33.   Becker M, Wise PH, Palfrey JS. Evaluation of a program to improve the transition from birth
       hospital to primary care. Amb Child Health. 1997;2:110-15.

 34.   Chavkin W, Elman D and Wise PH. Mandatory testing of pregnant women and
       newborns: HIV, drug use and welfare policy. Ford Urban Law J.1997;XXIV:749-56.

 35.    Gortmaker S, Wise PH. The first injustice: socioeconomic disparities, health services
        technology, and infant mortality. Annu Rev Sociol. 1997;23: 147-70.

 36.   Chavkin W, Breitbart V, Wise PH. National survey of the states: policies and practices regarding
       drug using women. Am J Public Health. 1998; 88:117-9.

 37.   Kahn RS. Wise PH. Finkelstein JA. Bernstein HH. Lowe JA. Homer CJ. The scope of unmet
       maternal health needs in pediatric settings. Pediatrics. 103(3):576-81, 1999

 38.   Wise PH, Chavkin W, Romero D. Assessing the effects of welfare reform policies on
       reproductive and infant health. Am J Public Health 1999;89(10):1514-21.

 39.   Baltay M, McCormick MC, Wise PH. Implementation of fetal and infant mortality review:
       experience from the national Healthy Start Program. J Mat Child Health. 1999;3:141-9.

 40.   Erickson LC, Wise PH, Cook EF, Beiser A, Newburger JW. The impact of managed care
       insurance on utilization of lower-mortality hospitals by children undergoing cardiac surgery in
       California. Pediatrics. 2000;105:1271-8.

 41.   Chavkin W, Romero D, Wise PH. State welfare reform policies and declines in health insurance.
       Am J Public Health. 2000;90:900-8.

 42.   Smith LA, Wise PH, Chavkin W, Romero D, Zuckerman B. Implications of welfare reform for
       child health: emerging challenges for clinical practice and policy. Pediatrics. 2000; 106: 1117-25.

 43.   Kahn RS, Wise PH, Kennedy BP, Kawachi I. State income inequality, household income, and
       maternal mental and physical health: cross sectional national survey. BMJ. 2000;321:1311-5.
                                                                       Paul H. Wise, M.D., M.P.H. - Page 13
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                                 #:31247
 44.   Romero D, Chavkin W, Wise PH. The impact of welfare reform policies on child protective
       services: a national survey. J Soc Issues. 2000;56:799-810.

 45.   Wang X. Zuckerman B. Kaufman G. Wise P. Hill M. Niu T. Ryan L. Wu D. Xu X. Molecular
       epidemiology of preterm delivery: methodology and challenges. Paediatr and Perinatal Epidem.
       2001;15:63-77.

 46.   Smith LA, Wise PH, Villarta M, Zuckerman B. The impact of welfare reform on children with
       chronic illness. Am J Public Health. 2002;92:228-30.

 47.   Romero D, Chavkin W, Wise PH. State welfare reform policies and maternal and child health
       services: findings from a national study. Mat Child Health J. 2001;5:199-206.

 48.   Kasper J, Wise PH. Child rights and welfare reform. Health Human Rights. 2001;5:126-35

 49.   Kahn RS, Wise PH, Bauchner H, Zuckerman B. Women’s health after pregnancy and child
       outcomes at age 3 years: a prospective cohort study. Am J Public Health 2002; 92: 1312-1318.

 50.   Wang XB, Pearson C, Kaufman G, Bauchner H, Wise PH, Zuckerman B, Pu X. Maternal
       smoking, genetic polymorphisms and birth weight. JAMA. 2002;287:195-202.

 51.    Wood PR, Smith LA, Romero DR, Bradshaw P, Chavkin W, Wise PH. Relationships between
        welfare status, health insurance status, and health and medical care among children with asthma.
        Am J Public Health 2002; 92:1446-1452.

 52.     Smith LA, Romero DR ,Wood PR, Wampler N, Chavkin W, Wise PH. Employment barriers
        among welfare recipients and applicants with chronically ill children. Am J Public Health 2002;
        92: 1453-1457.

 53.   Smith LA, Wise PH, Wampler NS. Knowledge of welfare reform program provisions among
        families of children with chronic conditions. Am J Public Health 2002; 92: 228-30..

 54.   Wise PH, Wampler N, Romero DR, Chavkin W. Chronic illness among poor children enrolled in
       the Temporary Assistance for Needy Families (TANF) program. Am J Public Health 2002; 92:
       1458-61.

 55.   Romero DR, Chavkin W, Wise PH, Smith LA, Wood PR .Welfare to work? Impact of maternal
       health on employment. Am J Public Health 2002; 92: 1462-1468.

 56.   Romero D, Chavkin W, Wise PH, Smith LA. Low-income mothers’ experience with poor health,
       hardship, work, and violence: implications for policy. Viol Ag Women. 2003;9:1231-44.

 57.   Venkateswarlu D, Kasper J, Mathews R, Reis C, Iacopino V, Wise PH. Child labour in India: a
       health and human rights perspective. Lancet.2003;362(s):1-3.

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